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                  EXHIBIT 
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                 DECLARATION OF JOHN WALKER

I, John Walker, pursuant to 28 U.S.C. § 1746 hereby declare and
say as follows:

    1.   I was a co-founder of Autodesk, Inc. (ADSK:NASDAQ),
         developer of the AutoCAD® computer-aided design
         software. I was president, chairman, and chief
         executive officer from the incorporation of the company
         in April 1982 until November 1986, more than a year
         after its initial public stock offering in June 1985. I
         continued to serve as chairman of the board of directors
         until April 1988, after which I concentrated on software
         development.

    2.   Autodesk is the developer of the AutoCAD® software, one
         of the most widely-used computer-aided design and
         drafting software packages in the world. AutoCAD allows
         creation of two- and three-dimensional models of designs
         and, with third-party products, their analysis and
         fabrication.

    3.   During the start-up phase of Autodesk, I was one of the
         three principal software developers of AutoCAD and wrote
         around one third of the source code of the initial
         release of the program.

    4.   Subsequently, I contributed to the development of
         three-dimensional extensions of the original AutoCAD
         drafting system, was lead developer on AutoShade[tm],
         which produced realistic renderings of three-dimensional
         models, and developed the prototype of integration of
         constructive solid geometry into AutoCAD, which was
         subsequently marketed as the AutoCAD Advanced Modeling
         Extension (AME).

    5.   I retired from Autodesk in 1994 and since have had no
         connection with the company other than as a shareholder
         with less than 5% ownership of the company's common
         stock.

    Design Versus Fabrication

    6.   From my experience at Autodesk, I became aware of the
         distinction between the design of an object and the
         fabrication of that object from the design. For
         example, the patent drawings and written description in
         firearms patents provide sufficient information "as to
         enable any person skilled in the art to which it
         pertains, or with which it is most nearly connected, to
         make and use the same, and shall set forth the best mode
         contemplated by the inventor or joint inventor of
         carrying out the invention" [35 U.S.C. § 112 (a)]. But
         this is in no way a mechanical process. One must
         interpret the design, choose materials suitable for each
         component, and then decide which manufacturing process
         (milling, stamping, turning, casting, etc.) is best to
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       produce it, including steps such as heat-treating and
       the application of coatings. This process is called
       "production planning", and it is a human skill that is
       required to turn a design, published in a patent
       description or elsewhere, into a physical realisation of
       the object described by that design.

  7.   A three-dimensional model of an object specifies its
       geometry but does not specify the materials from which
       it is fabricated, how the fabrication is done, or any
       special steps required (for example, annealing or other
       heat treating, coatings, etc.) before the component is
       assembled into the design.

  8.   Three-dimensional models of physical objects have many
       other applications than computer-aided manufacturing.
       Three-dimensional models are built to permit analysis of
       designs including structural strength and heat flow via
       the finite element method. Models permit rendering of
       realistic graphic images for product visualisation,
       illustration, and the production of training and service
       documentation. Models can be used in simulations to
       study the properties and operation of designs prior to
       physically manufacturing them. Models for finite element
       analysis have been built since the 1960s, decades before
       the first additive manufacturing machines were
       demonstrated in the 1980s.

  9.   Some three-dimensional models contain information which
       goes well beyond a geometric description of an object
       for manufacturing. For example, it is common to produce
       "parametric" models which describe a family of objects
       which can be generated by varying a set of inputs
       ("parameters"). For example, a three-dimensional model
       of a shoe could be parameterised to generate left and
       right shoes of various sizes and widths, with
       information within the model automatically adjusting the
       dimensions of the components of the shoe accordingly.
       The model is thus not the rote expression of a
       particular manufactured object but rather a description
       of a potentially unlimited number of objects where the
       intent of the human designer, in setting the parameters,
       determines the precise geometry of an object built from
       the model.

 10.   A three-dimensional model often expresses relationships
       among components of the model which facilitate analysis
       and parametric design. Such a model can be thought of
       like a spreadsheet, in which the value of cells are
       determined by their mathematical relationships to other
       cells, as opposed to a static table of numbers printed
       on paper.

  Additive Manufacturing ("3D Printing")

 11.   Additive manufacturing (often called, confusingly, "3D
       [for three-dimensional] printing") is a technology by
       which objects are built to the specifications of a
       three-dimensional computer model by a device which
       fabricates the object by adding material according to
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       the design. Most existing additive manufacturing
       devices can only use a single material in a production
       run, which limits the complexity of objects they can
       fabricate.

 12.   Additive manufacturing, thus, builds up a part by adding
       material, while subtractive manufacturing (for example,
       milling, turning, and drilling) starts with a block of
       solid material and cuts away until the desired part is
       left. Many machine shops have tools of both kinds, and
       these tools may be computer controlled.

 13.   Additive manufacturing is an alternative to traditional
       kinds of manufacturing such as milling, turning, and
       cutting. With few exceptions, any object which can be
       produced by additive manufacturing can be produced, from
       paper drawings or their electronic equivalent, with
       machine tools that date from the 19th century. Additive
       manufacturing is simply another machine tool, and the
       choice of whether to use it or other tools is a matter
       of economics and the properties of the part being
       manufactured.

 14.   Over time, machine tools have become easier to use. The
       introduction of computer numerical control (CNC) machine
       tools has dramatically reduced the manual labour
       required to manufacture parts from a design. The
       computer-aided design industry, of which Autodesk is a
       part, has, over the last half-century, reduced the cost
       of going from concept to manufactured part, increasing
       the productivity and competitiveness of firms which
       adopt it and decreasing the cost of products they make.
       Additive manufacturing is one of a variety of CNC
       machine tools in use today.

 15.   It is in no sense true that additive manufacturing
       allows the production of functional objects such as
       firearms from design files without human intervention.
       Just as a human trying to fabricate a firearm from its
       description in a patent filing (available in electronic
       form, like the additive manufacturing model), one must
       choose the proper material, its treatment, and how it is
       assembled into the completed product. Thus, an additive
       manufacturing file describing the geometry of a
       component of a firearm is no more an actual firearm than
       a patent drawing of a firearm (published worldwide in
       electronic form by the U.S. Patent and Trademark Office)
       is a firearm.

  Computer Code and Speech

 16.   Computer programs and data files are indistinguishable
       from speech A computer file, including a
       three-dimensional model for additive manufacturing, can
       be expressed as text which one can print in a newspaper
       or pamphlet, declaim from a soapbox, or distribute via
       other media. It may be boring to those unacquainted
       with its idioms, but it is speech nonetheless. There is
       no basis on which to claim that computer code is not
       subject to the same protections as verbal speech or
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       printed material.

 17.   For example, the following is the definition of a unit
       cube in the STL language used to to express models for
       many additive manufacturing devices.

           solid cube_corner
             facet normal 0.0 -1.0 0.0
               outer loop
                 vertex 0.0 0.0 0.0
                 vertex 1.0 0.0 0.0
                 vertex 0.0 0.0 1.0
               endloop
             endfacet
           endsolid

       This text can be written, read, and understood by a
       human familiar with the technology as well as by a
       computer. It is entirely equivalent to a description of
       a unit cube written in English or another human
       language. When read by a computer, it can be used for
       structural analysis, image rendering, simulation, and
       other applications as well as additive manufacturing.
       The fact that the STL language can be read by a computer
       in no way changes the fact that it is text, and thus,
       speech.

 18.   As an additional example, the following is an AutoCAD
       DXF[tm] file describing a two-dimensional line between
       the points (0, 0) and (1, 1), placed on layer 0 of a
       model.

           0
           SECTION
              2
           ENTITIES
              0
           LINE
              8
           0
             10
           0.0
           20
           0.0
           11
           1.0
           21
           1.0
              0
           ENDSEC
              0
           EOF

       Again, while perhaps not as easy to read as the STL file
       until a human has learned the structure of the file,
       this is clearly text, and thus speech.

 19.   It is common in computer programming and computer-aided
       design to consider computer code and data files written
       in textual form as simultaneously communicating to
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       humans and computers. Donald E. Knuth, professor
       emeritus of computer science at Stanford University and
       author of "The Art of Computer Programming", advised
       programmers:
           "Instead of imagining that our main task is to
           instruct a computer what to do, let us concentrate
           rather on explaining to human beings what we want a
           computer to do."[Knuth 1992]
       A design file, such as those illustrated above in
       paragraphs 17 and 18 is, similarly, a description of a
       design to a human as well as to a computer. If it is a
       description of a physical object, a human machinist
       could use it to manufacture the object just as the
       object could be fabricated from the verbal description
       and drawings in a patent.

 20.   Computer code has long been considered text
       indistinguishable from any other form of speech in
       written form. Many books, consisting in substantial
       part of computer code, have been published and are
       treated for the purpose of copyright and other
       intellectual property law like any other literary work.
       For example the "Numerical Recipes"[Press] series of
       books presents computer code in a variety of programming
       languages which implements fundamental algorithms for
       numerical computation.

  Conclusions

 21.   There is a clear distinction between the design of an
       artefact, whether expressed in paper drawings, a written
       description, or a digital geometric model, and an object
       manufactured from that design.

 22.   Manufacturing an artefact from a design, however
       expressed, is a process involving human judgement in
       selecting materials and the tools used to fabricate
       parts from it.

 23.   Additive manufacturing ("3D printing") is one of a
       variety of tools which can be used to fabricate parts.
       It is in no way qualitatively different from alternative
       tools such as milling machines, lathes, drills, saws,
       etc., all of which can be computer controlled.

 24.   A digital geometric model of an object is one form of
       description which can guide its fabrication. As such,
       it is entirely equivalent to, for example, a dimensioned
       drawing (blueprint) from which a machinist works.

 25.   Digital geometric models of objects can be expressed
       as text which can be printed on paper or read aloud
       as well as stored and transmitted electronically.
       Thus they are speech.

  References
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                           Fortran 978-0-521-43064-7
                           Pascal 978-0-521-37516-0

I declare under penalty of perjury under the laws of the United
States of America that the foregoing is true and correct.

Executed on November 22, 2018.




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                                           John Walker
